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14                               UNITED STATES DISTRICT COURT
15               NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION
16

17 NEUTAH OPIOTENNIONE,                        Case No. 3:19-cv-07185-JSC
18                  Plaintiff,
                                               DEFENDANT FACEBOOK, INC.’S
19         vs.                                 MOTION TO DISMISS THE
                                               COMPLAINT
20 FACEBOOK, INC.,

21                  Defendant.                 Judge: Hon. Jacqueline S. Corley
                                               Date: April 23, 2020
22                                             Time: 1:30 PM
23

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 1 I.       INTRODUCTION
 2          Defendant Facebook, Inc. (“Facebook”) operates an online platform that enables users to

 3 connect and share with friends and family through mobile devices and computers. Using

 4 Facebook’s platform, users can learn about what is going on in the world around them and share

 5 their opinions, photos, videos, and other activities with audiences ranging from their closest

 6 friends to the public at large. Facebook is free of charge to users and is supported primarily

 7 through ads placed on Facebook by third-party advertisers.

 8          Advertising, whether in print, television, or online, is about reaching people who are most

 9 likely to be interested in the product or service being offered. Advertisers have long used targeted

10 advertising to accomplish this goal—for example, by running ads for women’s clothing in Vogue

11 or during Oprah, for men’s athletic shoes in Sports Illustrated or during the Super Bowl, for

12 children’s toys on Cartoon Network, or for retirees in AARP Magazine or during the nightly news.

13          Advertisers on Facebook similarly can use audience selection tools that allow, but do not

14 require, them to target ads by age, gender, and thousands of other categories that correspond to

15 user interests as expressed through their activities on Facebook. Facebook provides guidelines

16 about what type of ad content is allowed on its ad platform and makes clear that discrimination,

17 including through use of audience selection tools, is strictly prohibited. Last year, Facebook also

18 made industry-leading changes to its ad platform to help prevent the potential misuse of audience
19 selection tools by advertisers placing certain types of ads—housing, employment, and credit—as

20 part of the settlement of another action brought in this District by Plaintiff’s counsel.

21          In that action, Plaintiff’s counsel argued that, simply by offering audience selection tools

22 that some advertisers might use to target housing, employment, or credit ads in a discriminatory

23 way, Facebook is liable for any such third-party conduct, even though the tools are available to all

24 advertisers placing ads for all types of products and services. Facebook filed a motion to dismiss

25 and Judge Davila stayed discovery. The parties then settled the case last year with Facebook

26 agreeing, among other things, to significantly restrict the targeting options available for placing

27 housing, employment, and credit ads by removing certain audience selection tools, including the

28 age and gender tools at issue here. Complaint (“Compl.”) ¶ 51.


                                                      -1-
 1          In this new action, Plaintiff’s counsel is pursuing the same theory of liability, except they

 2 have shifted their focus from housing, employment, and credit ads, to ads for “financial services,

 3 such as mortgages, personal loans, bank accounts, insurance, investment opportunities, and

 4 financial consulting services,” and now challenge only the age- and gender-targeting tools. But

 5 that theory is flawed for several reasons. As an initial matter, and as counsel for Plaintiff knows,

 6 advertisers cannot currently target ads for mortgages or personal loans by age or gender; those

 7 categories of ads are subject to the targeting restrictions Facebook implemented last year. More

 8 fundamentally, the new action suffers from the same fatal defect as the first action: Facebook’s

 9 provision of these tools to all advertisers placing ads for all types of products and services does

10 not make Facebook liable for the actions of some advertisers who might choose to misuse them

11 for certain types of ads.

12          First, Plaintiff fails to allege facts establishing Article III standing and statutory standing

13 under the Unruh Act and section 51.5. Plaintiff alleges that, despite Facebook’s clear policies

14 prohibiting discrimination on its ad platform, some third-party advertisers may choose to use

15 audience selection tools to publish discriminatory ads on Facebook. But this does not establish an

16 injury in fact, let alone one that is fairly traceable to any wrongdoing by Facebook.

17          Second, the federal Communications Decency Act (“CDA”) bars Plaintiff’s claims because

18 they are based on Facebook’s publication of allegedly discriminatory ads created and targeted by
19 third-party advertisers, and therefore seek to hold Facebook liable “as the publisher or speaker” of

20 third-party content in violation of the CDA. 47 U.S.C. § 230(c)(1). As Plaintiff admits, Facebook

21 provides age and gender audience selection tools with “default setting[s]” that include all ages and

22 all genders. Complaint (“Compl.”) ¶¶ 25-26. According to Plaintiff, advertisers may adjust these

23 default settings to exclude older persons and women from their selected audience. Id. ¶¶ 26, 29.

24 But Facebook’s provision of neutral tools that, according to Plaintiff, some third-party advertisers

25 may choose to use for an improper purpose falls squarely within the scope of CDA immunity.

26          Third, Plaintiff’s claims should be dismissed as beyond the territorial jurisdiction of the

27 Unruh Act and section 51.5. Plaintiff is a resident of Washington, D.C. and does not allege that

28 she suffered any discriminatory harm in California. That alone requires dismissal.


                                                       -2-
 1          Finally, Plaintiff fails to state a claim under the Unruh Act or section 51.5. Plaintiff has

 2 not and cannot allege any discriminatory intent by Facebook—an essential element of any claim

 3 under both statutes—or any discriminatory conduct by Facebook.

 4 II.      BACKGROUND
 5          Facebook operates an online social networking website that gives people the power to

 6 build community and bring the world closer together. See Compl. ¶ 15. In 2018, Facebook had

 7 over 2 billion monthly active users. Id. ¶ 16. These 2 billion monthly active users receive ads

 8 along with other content in their individual News Feed. Id. ¶ 53.

 9          Third-party advertisers use Facebook’s ad platform to publish ads for all types of products

10 and services. See Compl. ¶¶ 18, 19, 43-46. “When an advertiser seeks to create, purchase, and

11 send a paid advertisement to Facebook users [], it must select the audience of Facebook users who

12 will be eligible to receive the advertisement.” Id. ¶ 23. Advertisers select the audience for their

13 ads using tools corresponding to various parameters, including age and gender for which Plaintiff

14 admits the default settings are all ages and all genders. Id. ¶¶ 25-27. According to Plaintiff,

15 because some advertisers place ads on Facebook for “financial services, such as mortgages,

16 personal loans, bank accounts, insurance, investment opportunities, and financial consulting

17 services,” and can use the age and gender audience selection tools to exclude women or older

18 persons, Facebook has “intentionally denied its own users … and [] aided and abetted numerous
19 financial services companies in denying Facebook’s users[,] the full and equal accommodations,

20 advantages, facilities, and services of those financial services companies.” Id. ¶¶ 1, 3.

21          But Plaintiff does not and cannot allege that Facebook requires advertisers to change the

22 all ages and all genders default settings to publish an ad. Indeed, as Plaintiff admits, the age and

23 gender settings are only changed if advertisers decide to change them using drop down menus. Id.

24 ¶¶ 25-27. Unable to allege that Facebook “requires” the challenged conduct, Plaintiff alleges

25 instead, upon “information and belief” and numerous misleading quotes from materials on

26 Facebook’s website that are discussed below, that “Facebook encourages, facilitates, expects,

27 knows, and wants advertisers to exclude older persons and women from their audience

28 selections.” Id. ¶ 29.


                                                      -3-
 1          Plaintiff also does not, and cannot, allege that age and gender audience selection tools have

 2 no lawful purpose, and therefore must admit they are “neutral” tools. For example, advertisers

 3 may lawfully target ads for video games and extreme sports to a younger audience, while AARP

 4 may targets ads for its programs and publications to an older audience. Likewise, advertisers may

 5 target ads for women’s clothing and cosmetics to women, and ads for men’s shoes and

 6 antiperspirant to men. The same is true for “financial services” in “parallel advertising” on

 7 Facebook and across media. For example, a bank may advertise a new savings product in

 8 publications and other media focused on women and at Women’s Marches across the country, and

 9 run ads for the same product on Facebook targeted to men to avoid duplication. Similarly, an

10 insurance company might run ads in AARP Magazine and other media focused on senior citizens

11 and run ads for the same insurance products on Facebook targeted to exclude users age 55 and

12 above because they have been more specifically targeted elsewhere.

13          Finally, Plaintiff does not, and cannot, allege any discriminatory conduct by Facebook.

14 Instead, Plaintiff makes the conclusory allegation that Facebook intentionally discriminated

15 against users and “aided and abetted” third-party advertisers in intentionally discriminating against

16 users by offering audience selection tools that some advertisers may choose to use in an allegedly

17 discriminatory way, and in violation of Facebook’s explicit policies prohibiting such

18 discrimination. Compl. ¶ 77. But these are neutral tools and, as Plaintiffs repeatedly allege, it is
19 advertisers—not Facebook—who decide whether and how to use them. Id. ¶¶ . To the extent

20 advertisers may use them for unlawful or discriminatory purposes, Facebook explicitly prohibits

21 advertisers from engaging in such conduct, and requires all advertisers to certify that they are

22 complying with its policies and all applicable antidiscrimination laws. Declaration of Rosemarie

23 T. Ring in Support of Facebook’s Motion to Dismiss (“Ring Decl.”), Exhibits A and B

24 (advertising policies). 1

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28    The exhibits attached to the Ring Decl. may be considered for the reasons explained in
     Facebook’s Request for Incorporation by Reference, filed concurrently herewith.

                                                     -4-
 1 III.     ARGUMENT
 2          A.      Plaintiff Lacks Article III and Statutory Standing
 3                  1.      Plaintiff Fails to Plead Article III Standing
 4          The “‘irreducible constitutional minimum’ of [Article III] standing consists of three

 5 elements”: (1) “an injury in fact, (2) that is fairly traceable to the challenged conduct of the

 6 defendant, and (3) that is likely to be redressed by a favorable judicial decision.” Spokeo, Inc. v.

 7 Robins, 136 S. Ct. 1540, 1547 (2016) (quoting Lujan v. Defenders of Wildlife, 504 U.S. 555, 560-

 8 61 (1992)). Plaintiff does not meet this standard.

 9          First, Plaintiff does not allege an injury in fact. To show injury, a plaintiff must allege

10 facts showing that she has “suffered ‘an invasion of a legally protected interest’ that is ‘concrete

11 and particularized’ and ‘actual or imminent, not conjectural or hypothetical.’” Spokeo, 136 S. Ct.

12 at 1548. “A ‘concrete’ injury must be ‘de facto’; that is, it must actually exist” and must be

13 “‘real’” rather than “‘abstract.’” Id. For an injury to be “particularized,” as required for Article III

14 standing, it “must affect the plaintiff in a personal and individual way.” Id. “[I]n class actions, the

15 named representatives must allege and show that they personally have been injured, not that injury

16 has been suffered by other, unidentified members of the class to which they belong and which they

17 purport to represent.” Lierboe v. State Farm Mut. Auto. Ins. Co., 350 F.3d 1018, 1022 (9th Cir.

18 2003) (quoting Pence v. Andrus, 586 F.2d 733, 736-37 (9th Cir. 1978)); see also Spokeo, 136 S.Ct.
19 at 1547 (adding that injury suffered by other unidentified members of the class to which named

20 plaintiffs belong is not enough to meet Article III standing).

21          Plaintiff’s theory of liability is that some advertisers of financial services used the age and

22 gender audience selection tools in ways that excluded older people and women from the audience

23 for those ads. But Plaintiff does not plead any facts demonstrating that such alleged conduct

24 affects her “in a personal and individual way.” Spokeo, 136 S. Ct. at 1548. Plaintiff points to four

25 ads that she alleges are for “financial services” and were targeted by advertisers to exclude older

26 people and women from the audience based on the “Why am I seeing this ad?” information that

27 accompanies all ads on Facebook. Compl. ¶¶ 43-46. Even assuming the “Why am I seeing this

28 ad?” messages can be interpreted in this way, these allegations do not demonstrate that Plaintiff


                                                      -5-
 1 herself would have seen these ads on Facebook if the advertisers had not targeted them in this

 2 way, given the millions of active ads on Facebook and the limited space in Plaintiff’s News Feed.

 3 Indeed, Plaintiff does not, and cannot, allege that, as a result of this alleged conduct, she received

 4 fewer ads, less desirable ads, or even less relevant financial services ads. See Compl. ¶¶ 14, 57.

 5 Plaintiff’s speculation that she would have received the financial services ads she cites in the

 6 Complaint if the advertisers had not excluded older people and women from the audience, and that

 7 she was deprived of receiving ads for those financial services because she did not receive them on

 8 Facebook, does not plausibly establish any injury to her, let alone injury sufficient to establish

 9 Article III standing. See Fair Hous. Council of Suburban Phila. v. Main Line Times, 141 F.3d

10 439, 434-44 (3d Cir. 1998) (“general … adverse effect” “of discriminatory advertising”

11 insufficient).

12          Second, even if these generalized and speculative allegations could demonstrate an injury

13 to Plaintiff, she does not, and cannot, allege any injury that is “fairly traceable” to Facebook.

14 Spokeo, 136 S. Ct. at 1547. To establish traceability, a plaintiff must show that her injury results

15 from “the challenged action of the defendant,” and not from “the independent action of some third

16 party not before the court.” Lujan, 504 U.S. at 560. Only if the defendant’s actions had a

17 “determinative or coercive effect” on the third party’s actions can a plaintiff establish standing.

18 Bennett v. Spear, 520 U.S. 154, 169 (1997); Levine v. Vilsack, 587 F.3d 986, 995 (9th Cir. 2009).
19 Facebook’s provision of neutral age and gender audience selection tools on a general use ad

20 platform does not have a “determinative or coercive effect” upon third-party advertisers who,

21 according to Plaintiff, may use them to target ads for financial services on Facebook. See supra

22 Part II. Indeed, as Plaintiff admits, the default settings of the challenged tools are all ages and all

23 genders which only change if the advertiser makes an affirmative decision to change them.

24 Because Plaintiff fails to link any particular injury to any specific conduct by Facebook, Plaintiff

25 fails to satisfy the fair traceability requirement. See Lujan, 504 U.S. at 560

26                  2.      Plaintiff Fails to Plead Statutory Standing
27          Both the Unruh Act and section 51.5 requires that Plaintiff demonstrate statutory standing

28 to bring a claim. Osborne v. Yasmeh, 1 Cal. App. 5th 1118, 1126-27 (2016). In the context of


                                                      -6-
 1 online businesses, “mere awareness of a business’s discriminatory policy or practices is not

 2 enough..” White v. Square, 7 Cal. 5th 1019, 1023, 1032 (2019). This is because “a plaintiff

 3 cannot sue for discrimination in the abstract, but must actually suffer the discriminatory conduct.”

 4 Angelucci v. Century Supper Club 41 Cal.4th 160, 165 (2007) .

 5          Here, Plaintiff alleges that she was shown some ads, but not others—which, given the

 6 volume of ads on Facebook, is inevitable—and then speculates that she may not have seen some

 7 financial services ads because advertisers targeted them to exclude older people and women.

 8 Plaintiff’s theories do not even rise to the level of “mere awareness” of discriminatory practices or

 9 conduct, which in itself would be insufficient. Plaintiff also cannot rely on the conclusory

10 allegation that financial services advertisers “routinely” exclude women and older people. As

11 discussed supra, Plaintiff pleads no facts in support of such conduct, much less that she herself

12 was deprived of seeing any particular ad for financial services on Facebook. Accordingly,

13 Plaintiff has not pled and cannot plead that she has “actually suffer[ed] discriminatory conduct.”

14 Angelucci, 41 Cal.4th at 165.

15          B.     Plaintiff’s Claims Must be Dismissed Because Neither the Unruh Act nor
                   Section 51.5 Apply Extraterritorially
16

17          Plaintiff is outside the statutory jurisdiction of the Unruh Act and section 51.5, because she

18 is a resident of Washington, D.C. and fails to allege that she suffered discrimination within the
19 geographic boundaries of California. This alone requires dismissal of Plaintiff’s claims.

20          Where, as here, an out-of-state plaintiff accesses a website or service out-of-state and

21 allegedly suffers discrimination, the Unruh Act and section 51.5 cannot apply because they do not

22 have extraterritorial reach. See, e.g., Ebeid v. Facebook, Inc., No. 18-CV-07030-PJH, 2019 WL

23 2059662, at *7 (N.D. Cal. May 9, 2019) (dismissing Arizona resident’s Unruh Act claim based on

24 apparent out-of-state access to Facebook); Warner v. Tinder Inc., 105 F. Supp. 3d 1083, 1099

25 (C.D. Cal. 2015) (dismissing Florida resident’s Unruh Act claim based on out-of-state access to

26 allegedly discriminatory services). This is because the plain language of these statutory provisions

27 limit their scope to discrimination that occurs within the state of California. See Cal. Civil Code §

28 51(b); Archibald v. Cinerama Hawaiian Hotels, Inc., 73 Cal.App.3d 152, 159 (1977) (“[The


                                                     -7-
 1 Unruh Act] by its express language applies only within California.”); Moore v. Greyhound Bus

 2 Lines, Inc., No. 15-CV-1186-CAB (MDD), 2018 WL 3361395, at *2 (S.D. Cal. July 10, 2018),

 3 appeal dismissed, No. 18-56140, 2018 WL 6133396 (9th Cir. Sept. 18, 2018) (“Thus, through its

 4 own language UNRUH has limited geographical scope and only applies to discrimination that

 5 takes place within California.”).

 6          As Plaintiff is not a California resident and fails to allege any facts demonstrating that she

 7 suffered discrimination within the geographic boundaries of California, her Unruh Act claims

 8 must be dismissed.

 9          C.      Plaintiff’s Claims Are Barred by Section 230 of the CDA
10          Plaintiff’s claims are separately barred by the CDA, which prohibits Plaintiff from seeking

11 to impose liability on Facebook for publishing third-party content she alleges is discriminatory.

12          Plaintiff seeks to hold Facebook liable for financial services ads she alleges may have been

13 targeted on Facebook in a discriminatory manner because third-party advertisers may have used

14 optional, self-serve age and gender audience selection tools to narrow the audience for those ads.

15 But Plaintiff cannot escape the fact that there can be no alleged violation of the Unruh Act or

16 section 51.5 without publication of a discriminatory ad, and there can be no publication of a

17 discriminatory ad unless a third-party advertiser chooses to use the age and gender targeting tools

18 in a way that, according to Plaintiff, results in publication of a discriminatory ad. Accordingly, the
19 “content” relevant to Plaintiff’s claim are ads for financial services that third parties create and

20 target to (allegedly) exclude gender or certain age groups, not the age and gender audience

21 selection tools themselves. Because Plaintiff is seeking to hold Facebook liable for the publication

22 of allegedly discriminatory ads, the CDA bars such claims.

23          Under Section 230 of the CDA, “[n]o provider or user of an interactive computer service

24 shall be treated as the publisher or speaker of any information provided by another information

25 content provider.” 47 U.S.C. § 230(c)(1). The law bars liability “under any State or local law that

26 is inconsistent with this section,” id. § 230(e)(3). Through Section 230, Congress sought to

27 “encourage the unfettered and unregulated development of free speech on the Internet, and to

28 promote the development of e-commerce.” Batzel v. Smith, 333 F.3d 1018, 1027 (9th Cir. 2003);


                                                      -8-
 1 see 47 U.S.C. § 230(b)(1)-(2). “Congress recognized the threat that tort-based lawsuits pose” to

 2 websites that publish third-party content, Optinrealbig.com, LLC v. Ironport Sys., Inc., 323 F.

 3 Supp. 2d 1037, 1044 (N.D. Cal. 2004), and sought to prevent such lawsuits “from shutting down

 4 websites and other services on the Internet.” Batzel, 333 F.3d at 1028. “None of this means, of

 5 course, that the original culpable party who posts [unlawful content] would escape accountability,”

 6 but “Congress made a policy choice” to preempt “tort liability on companies that serve as

 7 intermediaries for other parties’ potentially injurious messages.’” Zeran v. Am. Online, Inc., 129

 8 F.3d 327, 330-31 (4th Cir. 1997). Accordingly, the “CDA has been interpreted to provide a

 9 ‘robust’ immunity” for “websites.” Goddard v. Google, Inc., 640 F. Supp. 2d 1193, 1196 (N.D.

10 Cal. 2009) (quoting Carafano v. Metrosplash.com Inc., 339 F.3d 1119, 1123 (9th Cir. 2003)).

11          Courts “aim to resolve the question of § 230 immunity at the earliest possible stage of the

12 case because that immunity protects websites not only from ‘ultimate liability,’ but also from

13 ‘having to fight costly and protracted legal battles.’” Nemet Chevrolet, Ltd. v.

14 Consumeraffairs.com Inc., 591 F.3d 250, 255 (4th Cir. 2009) (quoting Fair Hous. Council of San

15 Fernando Valley v. Roommates.com, LLC, 521 F.3d 1157, 1175 (9th Cir. 2008) (en banc)). Thus,

16 courts routinely apply the CDA on the pleadings in dismissing complaints. See, e.g., Kimzey v.

17 Yelp! Inc., 836 F.3d 1263, 1266 (9th Cir. 2016) (rejecting plaintiff’s “effort to circumvent the

18 CDA’s protections through ‘creative’ pleading”); Goddard, 640 F. Supp. 2d at 1202; Gonzales v.
19 Google, Inc., 282 F.Supp.3d 1150 (N.D. Cal. 2017) (granting motion to dismiss on CDA grounds)

20 Herrick v. Grindr, LLC, 306 F. Supp. 3d 579, 586-87 (S.D.N.Y. 2018), aff’d 765 F. App’x 586 (2d

21 Cir. March 27, 2019), cert. denied, 140 S. Ct. 221 (2019); Force v. Facebook, Inc., 934 F.3d 53

22 (2d Cir. 2019) (affirming dismissal of complaint based on CDA immunity).

23          CDA immunity attaches when (1) the defendant is “a provider or user of an interactive

24 computer service,” (2) “whom a plaintiff seeks to treat, under a state law cause of action, as a

25 publisher or speaker,” (3) “of information provided by another information content provider.”

26 Barnes v. Yahoo!, Inc., 570 F.3d 1096, 1100-01 (9th Cir. 2009). Applying this standard, courts

27 repeatedly have held that Facebook is protected by CDA immunity for claims related to third-party

28 content. See, e.g., Klayman v. Zuckerberg, 753 F.3d 1354, 1357 (D.C. Cir. 2014); Caraccioli v.


                                                     -9-
 1 Facebook, Inc., 167 F. Supp. 3d 1056, 1065-66 (N.D. Cal. 2016); Force v. Facebook, Inc., 934

 2 F.3d 53 (2d Cir. 2019); Cross v. Facebook, Inc., 14 Cal. App. 5th 190, 206 (2017); Pennie v.

 3 Twitter, Inc., et al., 281 F. Supp. 3d 874, 891-92 (N.D. Cal. 2017). The same result is warranted

 4 here.

 5                  1.      Facebook Is an Interactive Computer Service Provider
 6          It is beyond dispute that Facebook, a social networking platform and website, is a provider

 7 of an interactive computer service. See, e.g., Klayman, 753 F.3d at 1357 (“Facebook qualifies as

 8 an interactive computer service because it is a service that provides information to ‘multiple users’

 9 by giving them ‘computer access … to a computer server,’ 47 U.S.C. § 230(f)(2)”); Caraccioli,

10 167 F. Supp. 3d at 1065 (same). Plaintiff does not allege otherwise.

11                  2.      Plaintiff’s Claims Treat Facebook as a Publisher or Speaker
12          Plaintiff’s allegations demonstrate that she is attempting to impose liability on Facebook as

13 a publisher of third-party content. Plaintiff seeks to impose liability on Facebook for allowing

14 “advertisers [to] determine[] the audience” for ads. Compl. ¶ 25 (emphasis added). Plaintiff

15 acknowledges Facebook’s role as a publisher, asserting that “Facebook sells advertising to

16 companies who pay Facebook to place their advertisements on users’ News Feeds…,” Compl. ¶

17 18, that “Facebook sends the ad[] to the Facebook users within the audience selection that the

18 advertiser chose,” id. ¶ 23 (emphasis added), and that “Facebook … assisted the companies in
19 their violations by providing [the challenged targeting] tools … and publishing the financial

20 services [a]ds,” id. ¶ 59 (emphasis added). Allowing third-party advertisers to choose the

21 audience for their ads is a classic publishing activity protected by the CDA.

22          Courts have recognized that a lawsuit treats a defendant as a publisher or speaker when it

23 seeks to “hold a service provider liable for its exercise of a publisher’s traditional editorial

24 functions—such as deciding whether to publish, withdraw, postpone or alter content.”

25 Optinrealbig.com, 323 F. Supp. 2d at 1044 (internal quotation marks omitted). “A provider of

26 information services might get sued for violating anti-discrimination laws … or even for negligent

27 publication of advertisements that cause harm to third parties. … [W]hat matters is not the name

28 of the cause of action,” but “whether the duty that the plaintiff alleges the defendant violated


                                                      -10-
 1 derives from the defendant’s status or conduct as a ‘publisher or speaker.’” Barnes v. Yahoo! Inc.,

 2 570 F.3d 1096, 1101-02 (9th Cir. 2009); accord Herrick, 306 F. Supp. 3d at 590 (noting that

 3 “[c]ourts have interpreted ‘publication’ capaciously to reach claims that, although pleaded to avoid

 4 the CDA, ‘implicitly require recourse to that content [posted by a third party] to establish liability

 5 or implicate a defendant’s role’” (quoting Cohen v. Facebook, 252 F. Supp. 3d 140, 156

 6 (E.D.N.Y. 2017)).

 7          Applying these principles, numerous cases recognize that the publication of third-party ads

 8 falls squarely within the realm of traditional publisher functions protected by the CDA, even if the

 9 ads are discriminatory or otherwise unlawful under federal or state law. See, e.g., Chi. Lawyers’

10 Comm. for Civil Rights Under Law, Inc. v. Craigslist, Inc., 519 F.3d 666, 671-72 (7th Cir. 2008)

11 (CDA barred claim against Craigslist for publishing allegedly discriminatory ads in violation of

12 federal FHA); Goddard, 640 F. Supp. 2d at 1195-96 (CDA barred claim premised on “allegedly

13 fraudulent web-based advertisements” published by Google); Zeran, 129 F.3d at 329 (CDA barred

14 claim premised on allegedly fraudulent third-party ads).

15          Facebook’s provision of neutral age and gender audience selection tools that facilitate such

16 publications is a traditional publisher function protected by the CDA. Publishers routinely allow

17 advertisers to target ads and assist them in doing so. For instance, newspapers sell advertising

18 space to sporting goods stores in the sports section and broadcast networks sell airtime to
19 advertisers on different channels during different shows depending on what audience the

20 advertiser is trying to reach with a particular ad. The publication of ads entails more than

21 displaying them. It also entails allowing advertisers the ability to reach their target audience.

22          That is the same type of service Facebook and other online publishers protected by the

23 CDA offer to advertisers. Courts consistently have held that online ad targeting is a traditional

24 publisher function protected by the CDA, including with respect to Facebook. See, e.g., Force,

25 934 F.3d at 65–66 (holding that Facebook’s “allow[ing] advertisers to target ads to its users who

26 are likely most interested in those ads” is a protected publisher function under CDA); Jane Doe

27 No. 1 v. Backpage.com, LLC, 817 F.3d 12, 16 (1st Cir. 2016), cert. denied, 137 S. Ct. 622 (2017)

28 (tools allowing ad buyers to “target their advertisements” based on geography would be


                                                     -11-
 1 protected); Roommates, 521 F.3d at 1169 (tools allowing users “to specify whether they will or

 2 will not receive emails” from others “by means of user-defined criteria” would be protected, even

 3 though such tools “might help some users exclude email from other users of a particular race or

 4 sex”). All of Plaintiff’s claims are based on the potential use of targeting tools by advertisers to

 5 publish discriminatory ads. “Facebook’s role in publishing that content is thus an essential causal

 6 element of [Plaintiff’s] claims,” Cohen, 252 F. Supp. 3d at 158. Accordingly, Plaintiff’s claims

 7 attempt to treat Facebook as the publisher of unlawful content and are barred by the CDA.

 8                  3.      Plaintiff’s Claims Are Based on Allegedly Discriminatory Ads Created
                            by Third-Party Advertisers
 9
            As alleged in the Complaint, it is advertisers, and not Facebook, that make the decisions
10
     about (1) what to advertise (financial services, credit-related or otherwise); and (2) whether and
11
     how to target those ads (based on age, gender, or otherwise). Plaintiff’s claims are therefore based
12
     on information “provided by another information content provider.” 47 U.S.C. § 230(c)(1).
13
     Plaintiff’s allegations concerning Facebook’s creation of the age and gender audience selection
14
     tools are simply irrelevant to determining CDA immunity. It is not enough to “provide a
15
     framework that could be utilized for proper and improper purposes.” Roommates, 521 F.3d at
16
     1172 (emphasis added). What matters is whether, with respect to the content upon which
17
     Plaintiffs’ claims are based—allegedly discriminatory ads that may have been published on
18
     Facebook’s ad platform—Facebook has “materially contribut[ed] to [their] alleged unlawfulness.”
19
     Id. at 1168. Facebook has done no such thing.
20
                            (a)     Neutral Ad-Targeting Tools Are Protected by the CDA
21
            The gravamen of Plaintiff’s claim is that Facebook created age and gender audience
22
     selection tools and third-party advertisers used them to target ads for financial services in
23
     violation of the Unruh Act and section 51.5. As Plaintiff repeatedly alleges, any purported
24
     discriminatory ads are created by such advertisers. See, e.g., Compl. ¶ 23 (“When an advertiser
25
     seeks to create, purchase, and send a paid advertisement to Facebook users”) (emphasis added); id.
26
     ¶ 25 (“When an advertiser determines the audience selection”) (emphasis added); id. ¶ 38
27
     (“[W]hen the advertiser eliminates persons who are older than 40 from the audience selection or
28


                                                      -12-
 1 eliminates women from the audience”) (emphasis added). And Plaintiff does not (and cannot)

 2 allege that Facebook decides whether or how the age and gender audience selection tools are used

 3 by advertisers. In fact, Plaintiff concedes that these options default to targeting all ages and

 4 genders unless an advertiser decides to change the selection to narrow their audience. Compl. ¶¶

 5 25-27.

 6          Facebook’s alleged role in creating these age and gender audience selection tools does not

 7 strip it of CDA immunity. The age and gender audience selection tools challenged by Plaintiff are

 8 exactly the type of “neutral tool[]” protected by the CDA. Roommates, 521 F.3d at 1171. Courts

 9 uniformly have held that such neutral tools, which facilitate the publication of third-party content

10 and that third parties may use for either “proper or improper purposes,” do not “contribute[]

11 materially to the alleged illegality” of third-party content. Id. at 1168, 1172. They are thus

12 protected by CDA immunity “even if the users committed their misconduct using” such “tools.”

13 Id. at 1169 n.24; see Kimzey, 836 F.3d at 1270 (a “‘neutral tool’ operating on ‘voluntary inputs’ ...

14 [does] not amount to content development or creation”). Importantly, such neutral tools are

15 protected even if they are alleged to “encourage[]” facilitate[]” or “enable[]” third parties in

16 engaging in unlawful conduct. See La Park La Brea A LLC v. Airbnb, Inc., 285 F. Supp. 3d 1097,

17 1107 (C.D. Cal. 2017) (holding that website “must have done more than merely encourage[d] the

18 creation of the challenged conduct” to lose CDA immunity).
19          A website retains immunity so long as it does not materially contribute to the creation of

20 “the particular information at issue” in the case. Carafano, 339 F.3d at 1123-25. “A material

21 contribution to the alleged illegality of the content does not mean merely taking action …

22 necessary to the display of allegedly illegal content. Rather, it means being responsible for what

23 makes the displayed content allegedly unlawful.” Jones v. Dirty World Entm’t Recordings LLC,

24 755 F.3d 398, 410 (6th Cir. 2014) (emphasis added). Here, “what makes the displayed content

25 allegedly unlawful,” id., is a combination of the ad content and how it is targeted, both of which

26 are provided by advertisers, not Facebook.

27          The age and gender tools are no different than numerous other neutral tools held to be

28 protected by the CDA. For example, in Carafano, a dating website provided its users with a


                                                     -13-
 1 “detailed questionnaire” that included multiple-choice questions where “members select[ed]

 2 answers ... from menus providing between four and nineteen options” in creating their profiles.

 3 339 F.3d at 1121. The plaintiff argued that these menus included “sexually suggestive” phrases

 4 that facilitated the creation of a defamatory impersonated profile. Id. The Ninth Circuit held that

 5 “[d]oubtless, the questionnaire facilitated the expression of information by individual users,” but

 6 the “selection of the content was left exclusively to the user.” The court therefore concluded that

 7 the defendant “cannot be considered an ‘information content provider’” because “no profile has

 8 any content until a user actively creates it.” Id. at 1124

 9          Similarly, in Goddard, the plaintiff challenged Google’s provision of a “Keyword Tool”

10 that “suggest[ed] the phrase ‘free ringtone” to advertisers, claiming that “the suggestion of the

11 word ‘free,’ when combined with Google’s knowledge ‘of the mobile content industry’s

12 unauthorized charge problems,’ makes the Keyword Tool ‘neither innocuous nor neutral.’” 640 F.

13 Supp. 2d at 1197. The court rejected this argument, holding that “[l]ike the menus in Carafano,

14 Google’s Keyword Tool is a neutral tool. It does nothing more than provide options that

15 advertisers may adopt or reject at their discretion.” Id. at 1198; see also, e.g., Jurin v. Google Inc.,

16 695 F. Supp. 2d 1117, 1123 (E.D. Cal. 2010) (same); Gonzalez v. Google, Inc., 282 F. Supp. 3d

17 1150, 1168 (N.D. Cal. 2017) (holding that “Google’s targeted ad algorithm” was protected by the

18 CDA as a “neutral tool[]”); Hill v. StubHub, Inc., 727 S.E.2d 550, 562 (N.C. Ct. App. 2012)
19 (pricing tool for tickets that suggested prices above that allowed by law was “a prototypically

20 ‘neutral tool’”).

21          This same principal applies here. Even accepting Plaintiff’s speculative and conclusory

22 allegations about how Facebook created its age and gender audience selection tools, these

23 allegations do not subject Facebook to liability in this case. See, e.g., Compl. ¶ 21 (alleging that

24 Facebook “segregate[]s, classif[ies], and categorize[s] users based on age and gender” “to make it

25 easy for and to encourage advertisers to target their ad[s].”). As demonstrated throughout the

26 Complaint, Plaintiff has no claim without the publication of a “discriminatory” financial services

27 ad, and there is no allegedly discriminatory ad unless and until an advertiser creates a financial

28 services ad and uses the age and gender audience selection tools to target that ad in ways that


                                                     -14-
 1 Plaintiff contends are discriminatory. In other words, “what makes the displayed [ads] allegedly

 2 unlawful,” Jones, 755 F.3d at 410, is not Facebook’s creation of neutral tools available for use

 3 with all types of ads, but the actual use of those tools by advertisers to place certain types of ads in

 4 ways Plaintiff claims violate the Unruh Act and section 51.5.

 5                          (b)    Plaintiff’s Conclusory Assertion that Facebook “Wants” and
                                   “Encourages” Advertisers to Unlawfully Target Ads Does Not
 6                                 Defeat CDA Immunity
 7          Plaintiff alleges, without any factual basis, that Facebook “encourages” and “wants”

 8 advertisers to use the age and gender audience selection tools in ways that Plaintiff asserts are

 9 unlawful. See, e.g., Compl. ¶ 29. As discussed in greater detail infra at Part III.D.1, Plaintiff’s

10 allegations demonstrate nothing more than Facebook’s creation of neutral tools that all advertisers

11 can use to target ads for all types of products and services and, concurrently, has created generic

12 help-center material that explains to advertisers generally how these tools may be used. On a

13 motion to dismiss, Plaintiff’s conclusory allegations that “Facebook wants and encourages”

14 unlawful conduct cannot and should not be credited. Iqbal, 556 U.S. at 678.

15          Indeed, the Ninth Circuit has explicitly rejected attempts to “circumvent” the CDA by way

16 of “creative pleading” that lacks any factual basis. Kimzey, 836 F.3d at 1266. “[T]hreadbare

17 allegations” of a website’s authorship of content “are implausible on their face and are insufficient

18 to avoid immunity under the CDA.” Id. at 1268. “Were it otherwise, CDA immunity could be
19 avoided simply by reciting a common line that user-generated statements are not what they say

20 they are.” Id. at 1268-69. Applying this rule in Goddard, for example, the court rejected

21 conclusory allegations that the defendant had contributed to a third-party’s creation of unlawful

22 content. The plaintiff “allege[d] in conclusory fashion that Google assisted its AdWords

23 customers in drafting their advertisements,” but “offered no allegations to support this claim” and

24 “fail[ed] to explain how Google ‘controlled’ or ‘collaborated’ with” advertisers “in the creation of

25 any allegedly fraudulent advertisement.” 640 F. Supp. 2d at 1202 (emphasis added). Plaintiff’s

26 allegations here are equally deficient.

27          Moreover, even if Plaintiff had actually alleged facts showing that Facebook

28 “encourage[d]” advertisers to use the age and gender audience selection tools to target their


                                                     -15-
 1 financial services ads in certain ways—which, to be clear, Plaintiff does not—that still would not

 2 defeat CDA immunity. See, e.g., Jones, 755 F.3d at 414 (citing Roommates and expressly

 3 declining to adopt “encouragement test of immunity under the CDA”). Rather, Plaintiff would

 4 need to allege that Facebook required such discriminatory targeting. Opperman v. Path, Inc., 84

 5 F. Supp. 3d 962, 986-87 (N.D. Cal. 2015) (recognizing that Jones “adopted the Ninth Circuit’s

 6 reasoning in Roommates.com” that to forfeit CDA immunity, a website “must have done more

 7 than merely ‘encourage’ the creation of the challenged conduct,” but “must have required another

 8 to create that content” (emphasis added)); Airbnb, 285 F. Supp. 3d at 1107 (same). Here, Plaintiff

 9 does not and cannot allege that Facebook requires financial services advertisers (or any advertiser)

10 to use the age and gender audience selection tools at all, much less use them to target their ads in a

11 discriminatory manner. Indeed, Plaintiff admits that the default settings of the tools includes all

12 ages and all genders. Compl. ¶¶ 25-27. Because Plaintiff cannot plead facts demonstrating that

13 Facebook requires (or even encourages) advertisers to target their financial services ads in a

14 discriminatory manner, Plaintiff’s claims are barred in their entirety by the CDA.

15          D.      Plaintiff Cannot State a Claim under the Unruh Act or Cal. Civil Code § 51.5
16                  1.      Plaintiff Fails to Plead Facts Demonstrating the Requisite Intent to
                            Discriminate by Facebook
17
            Plaintiff’s claims against Facebook fail at the outset because “a plaintiff seeking to
18
     establish a case under the Unruh Act must plead and prove intentional discrimination.” Koebke v.
19
     Bernardo Heights Country Club, 36 Cal.4th 824, 854 (2005). Section 51.5 claims, which for
20
     liability purposes are substantively identical to Unruh Act claims, likewise require intentional
21
     discrimination. Long v. Playboy Enters. Int’l, Inc., 565 F. App’x 646, 647-48 (9th Cir. 2014). 2
22
     Discriminatory intent requires that a defendant have acted for the purpose of achieving
23
     discrimination. Koebke, 36 Cal. 4th at 854 (finding no evidence that defendant “adopted its
24
     [challenged] policy to accomplish discrimination on the basis of [a protected characteristic]”)
25

26
   2
     Although the section 51.5 is not formally a part of the Unruh Act, California courts have held
27 that the liability analysis is the same. See Semler v. Gen. Elec. Capital Corp., 196 Cal. App. 4th

28 1380, 1404 (2011) (“[T]he analysis under Civil Code section 51.5 is the same as the analysis we
   have already set forth for purposes of the [Unruh Civil Rights] Act.”).


                                                     -16-
 1 (emphasis added). As explained below, nowhere in the Complaint are there any facts alleged to

 2 demonstrate that Facebook ever acted with the requisite intent to discriminate.

 3          As the Ninth Circuit has explained, “intentional discrimination” under the Unruh Act and

 4 section 51.5 requires more than mere “knowledge that a protected right is substantially likely to be

 5 infringed upon, and a failure to act upon that knowledge.” Greater L.A. Ag. on Deafness, Inc. v.

 6 Cable News Network, Inc., 742 F.3d 414, 427 (9th Cir. 2014) (rejecting deliberate indifference

 7 standard in light of Koebke). The California Supreme Court has held that the statutory text, and in

 8 particular its reference to “‘aiding’” and “‘inciting’” discrimination (Cal. Civ. Code § 52(a)),

 9 “imply willful, affirmative misconduct on the part of those who violate the Act.” Koebke, 36

10 Cal.4th at 853. Indeed, the Unruh Act and section 51.5 contain a “damages provision allowing for

11 an exemplary award of up to treble the actual damages suffered,” as well as a $4,000 statutory-

12 damages provision for every violation. Harris, 52 Cal. 3d at 1172; see Cal. Civ. Code § 52(a).

13 These damages provisions “‘reveal[] a desire to punish intentional and morally offensive

14 conduct.’” Koebke, 36 Cal. 4th at 853 (quoting Harris, 52 Cal.3d 1172 (emphasis added)).

15          Plaintiff alleges no facts whatsoever, nor could she, showing that Facebook willfully or

16 affirmatively discriminated against users. The only conduct by Facebook that Plaintiff alleges is

17 the provision of neutral age and gender audience selection tools to all advertisers on a general use,

18 self-serve ad platform. Indeed, the Complaint demonstrates that the “default setting[s]” of all of
19 the challenged audience selection tools—that is, the setting that Facebook controls—is completely

20 inclusive, i.e., it does not exclude any users from receiving ads on the basis of age or gender.

21 Compl. ¶¶ 25-27. The conclusory assertion that Facebook “encourages, facilitates, expects,

22 knows, and wants advertisers to routinely exclude older persons and women … so that older

23 persons and women will not receive” ads is both baseless and nonsensical. Id. ¶ 29. If, as Plaintiff

24 asserts, Facebook “wants ads to be as ‘relevant’ as possible to its users so that users will spend

25 more time on Facebook and allow Facebook to sell and place more paid advertisements on

26 Facebook,” then Facebook would have no incentive to exclude women and older users from

27 receiving ads that they might find relevant. Id. Instead, Facebook would have every incentive to

28 maximize the number of “relevant” ads available to all users, regardless of age and gender.


                                                     -17-
 1 Plaintiff has not alleged facts even remotely suggesting that Facebook intended for age and gender

 2 audience selection tools to be used in a discriminatory manner by third parties, much less that

 3 Facebook itself acted with discriminatory intent.

 4          Plaintiff has not alleged a single fact demonstrating or even suggesting that Facebook

 5 willfully or affirmatively discriminated against users based on a protected characteristic under the

 6 Unruh Act. Plaintiff’s allegations speak only to whether advertisers may have engaged in

 7 allegedly discriminatory conduct. These allegations fail to state a claim against Facebook because

 8 they do not show discriminatory intent by Facebook and for good reason—Facebook expressly

 9 prohibits advertisers from engaging in discrimination, including through the use of targeting tools.

10 Ring Decl., Exhibit A at 2; Exhibit B at 6, 11.

11          Nor does Plaintiff’s selective quotations from materials on Facebook’s website

12 demonstrate the type of “willful” or “morally offensive conduct” required to show intent. These

13 materials simply describe a range of neutral, self-serve, and optional tools that advertisers can use

14 in a variety of contexts. For example, the “Blueprint” materials quoted by Plaintiff explains to

15 advertisers, “If you want, you can choose to reach out to only men or only women,” for products

16 like bridal dress shops and beard grooming businesses. Compl. ¶ 31 (emphasis added). It then

17 states that a winemaker might use age targeting because “there might be a minimum age for

18 people you reach out to.” Ring Decl., Exhibit C at 21.
19          As these allegations make clear, the video is simply telling advertisers that they may, if

20 they “choose,” target all kinds of ads for non-discriminatory purposes on the basis of age or

21 gender. Plaintiff incredulously asserts this video demonstrates Facebook’s intent to discriminate

22 because the video does not also tell advertisers that they should not use the tools to restrict

23 audiences by age and gender for “non-credit-related financial services” ads. Nonsense. First of

24 all, Facebook does, in fact, explicitly prohibit discriminatory targeting of ads and requires

25 advertisers to agree to those policies as a condition of using Facebook. Ring Decl., Exhibit A at 2;

26 Exhibit B at 6, 11. That Facebook also did not remind advertisers of that prohibition in this

27 particular video does not of course demonstrate intentional discrimination. In any event, the video

28 merely provides examples of how advertisers for different products and services might use various


                                                     -18-
 1 audience selection tools.

 2           Plaintiff’s reliance on other inapposite materials is likewise misleading and unavailing.

 3 The selected quotes from the video entitled “How to Choose an Audience for Your Facebook Ad,”

 4 Id., Exhibit C at 16-19, also provides examples of how any advertiser might use audience selection

 5 tools to audiences for any product or service. Plaintiff quotes language asking advertisers if their

 6 customers are “often of a certain age or gender,” but omits the question immediately following

 7 asking whether customers “tend to live somewhere specific or have interest or hobbies in

 8 common.” In fact, the majority of this video focuses on two different examples of targeting, 3

 9 neither of which involves age or gender targeting, much less targeting of ads for “non-credit-

10 related financial services.” Compl. ¶ 32; Ring Decl., Exhibit C at 18.

11           Plaintiff’s reliance on the “4 Tips for Selecting Your Ad Audience” likewise underscores

12 Plaintiff’s inability to plead a single fact demonstrating any discriminatory intent by Facebook.

13 This general help-center material informs advertisers that (1) they should “[c]onsider your current

14 customer base (if you have one)”; (2) that “[a]udiences can be specific or broad. There can be

15 pros and cons to both … If it gets too broad, add additional audience options. If it’s too narrow,

16 try removing some”; (3) they should “[w]atch the audience meter to see whether your audience is

17 too specific or too broad”; and (4) they should “[t]est and iterate: There’s no one-size-fits-all

18 solution to building audiences.” Ring Decl., Exhibit C at 23-24. None of these general “tips” that
19 apply to all types of ads demonstrates any intent by Facebook to exclude users based on age or

20 gender for “non-credit-related financial services.” Indeed, they say nothing about such advertising

21 at all.

22           Plaintiff also claims that the “audience meter may change from pointing to yellow to

23 pointing to green” if an advertiser “eliminates persons who are older than 40 from the audience” or

24

25
     3
     The video focuses on two examples, the first of which is an organic fruit market targeting ads to
26 local customers who are interested in health and fitness and like to cook. The second is a surf
   shop and the video explains that someone who lives 1000 miles from your surf shop will find it
27 less relevant, but someone who lives near your shop and has active hobbies or names surfing as an
   interest will find it more relevant. The only “encouragement” Facebook is providing here is for
28 advertisers to consider their customers holistically.


                                                     -19-
 1 “eliminates women.” Compl. ¶ 38. But Plaintiff’s reliance on the audience meter is likewise

 2 misleading, since it is a metric relating to the size and reach of an audience, not whether users in

 3 the selected audience are interested in the ad. Ring Decl., Exhibit C at 23-24. In other words, the

 4 audience meter may also change from yellow to green when advertisers eliminate users in

 5 California or users who are interested in dogs. Facebook’s provision of a metric gauging audience

 6 size that is available to all advertisers for all types of ads does not show that Facebook encouraged

 7 third-party advertisers to exclude users based on age and gender from audiences for “non-credit-

 8 related financial services” ads. Koebke, 36 Cal. 4th at p. 854; Turner v. Ass’n of Am. Med. Colls.,

 9 167 Cal. App. 4th 1401, 1409-1410 (2008) (“[T]he Unruh Act does not extend to practices and

10 policies that apply equally to all persons.”); see also Earll v. eBay Inc. (N.D. Cal. Aug. 8, 2012)

11 2012 WL 3255605, at *5 (dismissing Unruh Act claim where “allegations describe a facially

12 neutral policy” and thus did not “demonstrate intentional discrimination”).

13          Plaintiff also perversely asserts that Facebook’s efforts to combat discrimination through

14 its recent development of “classifiers” designed to identify ads that are “likely to be credit,

15 housing, or employment related” means that Facebook “has specifically known every time” an

16 advertiser might have created a credit-related ad. Compl. ¶¶ 49-50. Plaintiff further asserts, with

17 no factual basis, that Facebook “knew” how these ads were targeted and “took no action to stop

18 this practice in spite of its knowledge that these ads might violat[e] various … laws.” Id. ¶ 50.
19 These conclusory assertions do not demonstrate that Facebook “knew” that allegedly

20 discriminatory advertising was occurring, and certainly do not demonstrate that Facebook intended

21 for advertisers to engage in any discriminatory advertising. Facebook’s implementation of

22 additional technical measures that attempt to prevent the misuse of audience selection tools in

23 connection with housing, employment, and credit ads does not demonstrate that Facebook intends

24 for advertisers to use those tools to unlawfully discriminate with respect to all other types of ads. 4

25          Indeed, Plaintiff’s baseless assertions boil down to an argument that Facebook should have

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27   4
    Moreover, as explained above, Facebook is only one of many different online and offline
28 channels  for advertising and advertisers commonly choose to target different audiences via
   different channels, in perfectly lawful ways.


                                                      -20-
 1 also included financial services ads in the new ad creation flow, and that Facebook’s “failure” to

 2 do so somehow demonstrates intent. But as the Ninth Circuit has held, “knowledge” that unlawful

 3 conduct is “substantially likely” to occur “and a failure to act upon that knowledge” is insufficient

 4 to demonstrate intentional discrimination as a matter of law. Cable News Network, 742 F.3d at

 5 426.

 6          Plaintiff’s aiding-and-abetting claims also fail for the same reason. As an initial matter,

 7 any aiding-and-abetting claim fails because, as explained above, Plaintiff has not alleged an

 8 independent primary violation by any third-party advertiser. See, e.g., In re VeriFone Sec. Litig.,

 9 11 F.3d 865, 870 (9th Cir. 1993) (“failure to allege an independent, primary” violation “moots”

10 claims for “aiding and abetting”.) 5 But even if Plaintiff could allege a primary violation,

11 Plaintiff’s claims would still fail. To prevail on an aiding-and-abetting theory, a plaintiff must

12 show that a defendant gave “‘substantial assistance or encouragement’” to the primary violator,

13 and also that the defendant “‘acted with the intent of facilitating the commission of that tort.’”

14 Casey v. U.S. Bank Nat. Assn., 127 Cal.App.4th 1138, 1144, 1146 (2005); see also Bergstein v.

15 Stroock & Stroock & Lavan LLP, 236 Cal.App.4th 793, 810 (2015) (same). Plaintiff does not

16 come close to meeting that standard. Facebook has “do[ne] no more than provid[e its] usual,

17 legitimate service” advertisers; that some may misuse the service does not amount to substantial

18 assistance or encouragement. Schulz v. Neovi Data Corp., 152 Cal. App. 4th 86, 94 (2007); see
19 also Emery v. Visa Intl. Serv. Assn., 95 Cal. App. 4th 952, 963-966 (2002). Plaintiff’s failure to

20 plead any specific intent to discriminate on the part of Facebook dooms any claim, whether direct

21 or indirect, under the Unruh Act and section 51.5

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     Because the Unruh Act provides for liability for anyone who “aids or incites” unlawful
27 discrimination but does not define that term (Civil Code, § 52, subd. (a)), it must be interpreted in

28 light of the “common law definition of aiding and abetting.” See Fiol v. Doellstedt, 50 Cal. App.
   4th 1318, 1325 (1996).


                                                     -21-
 1                  2.      Plaintiff Has Not and Cannot Plead that Facebook Engaged in Any
                            Conduct Prohibited by the Unruh Act or Section 51.5
 2
            Nor has Plaintiff alleged that Facebook’s provision of age and gender audience selection
 3
     tools constitutes unreasonable, arbitrary, or invidious discrimination, as required by the Unruh Act
 4
     and section 51.5.
 5
            The Unruh Act and section 51.5 “prohibit[] only unreasonable, arbitrary, or invidious
 6
     discrimination, not differential treatment based on actual characteristic differences or differences
 7
     in needs of users.” Sunrise Country Club Assn., 190 Cal. App. 3d at 380-81. “Invidious
 8
     discrimination is the treatment of individuals in a manner that is malicious, hostile, or damaging.”
 9
     Javorsky v. W. Athletic Clubs, Inc., 242 Cal. App. 4th 1386, 1404 (2015). They do not prohibit
10
     discriminatory policies that “do[] not perpetuate any invidious stereotypes,” id. at 1401, or policies
11
     based on “actual characteristic differences or differences in needs of users.” Sunrise Country
12
     Club, 190 Cal. App. 3d at 380-81. This is because the “fundamental purpose of the Unruh Civil
13
     Rights Act is the elimination of anti-social discriminatory practices—not the elimination of
14
     socially beneficial ones.” Sargoy v. Resolution Trust Corp., 8 Cal. App. 4th 1039, 1049 (1992).
15
            Thus, for instance, the Unruh Act and section 51.5 forbid facially discriminatory pricing
16
     policies based on unfair and harmful stereotypes, Koire v. Metro Car Wash, 40 Cal. 3d 24, 34
17
     (1985) (“[ladies’] discounts”), as well as class-based treatment based on alleged “undesirable
18
     propensities” of the class, Marina Point, Ltd. v. Wolfson, 30 Cal. 3d 721, 725-726 (1982)
19
     (landlord’s exclusion of families). But the law does not prohibit discriminatory pricing policies
20
     that “do[] not perpetuate any invidious stereotypes,” Javorsky, 242 Cal. App. 4th at 1401
21
     (discounted young adult gym memberships), or policies based on “actual characteristic differences
22
     or differences in needs of users,” Sunrise Country Club Assn., 190 Cal. App. 3d at 380-81
23
     (separate “adult” and “family” sections of condo development).
24
            Here, Plaintiff does not, and cannot, allege that Facebook has engaged in any
25
     unreasonable, arbitrary, or invidious discrimination. Instead, Plaintiff alleges that Facebook
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     provides age and gender audience selection tools that “enable[]” advertisers to target specific
27
     audiences for their ads. Compl. ¶¶ 23-29. But providing audience selection tools to all advertisers
28


                                                     -22-
 1 for use with ads for all types of products and services does not amount to conduct constituting

 2 “unreasonable, arbitrary, or invidious discrimination.” As discussed above, supra at pp. 3-4, the

 3 optional age and gender audience selection tools can be used by advertisers—including financial

 4 services advertisers—to engage in a broad range of targeted advertising that does not rest on unfair

 5 or harmful stereotypes or the “undesirable propensities” of a class. Cf. Javorsky, 242 Cal. App.

 6 4th at 1395 (differential treatment “may be reasonable, and not arbitrary, in light of the nature of

 7 the enterprise or its facilities, legitimate business interests … and public policy”); Morsa v.

 8 Facebook, Inc., 77 F. Supp. 3d 1007, 1013 (2014) (“targeted advertising” “has been practiced as

 9 long as markets have been in operation”); see also OpenTV, Inc. v. Netflix Inc., 76 F. Supp. 3d

10 886, 893 (N.D. Cal. Dec. 16, 2014) (“The concept of gathering information about one’s intended

11 market and attempting to customize the information then provided is as old as the saying, ‘know

12 your audience.’”).

13          For example, these very same age and gender audience selection tools can be used to target

14 ads for college savings accounts for children, loans for women-owned small businesses, and

15 financial education programs targeted to soon-to-be retirees. There is nothing “unreasonable,

16 arbitrary, or invidious” about allowing advertisers to target ads for lawful products and services to

17 the very populations for which those products and services are intended. Providing a tool for

18 targeting advertising—even if it is used by some unspecified advertisers to engage in unlawful
19 discrimination in violation of Facebook’s policies prohibiting such use—does not constitute

20 “unreasonable, arbitrary, or invidious discrimination” by Facebook.

21          Moreover, although Plaintiff’s claim here is limited to financial services ads targeted to

22 exclude women and older people, Plaintiff’s underlying legal theory cannot be so neatly cabined

23 and sweeps far more broadly. Plaintiff would have the Unruh Act and section 51.5 prohibit any

24 and all targeted advertising on the basis on any protected characteristic. Advertisers could be sued

25 for choosing to place ads for retirement communities in AARP or women’s exercise apparel in

26 Women’s Health. Plaintiff’s overbroad theory is neither supported by the text of the Unruh Act

27 and section 51.5, nor is it consistent with their purpose. Unlike comparable statutory schemes

28 where the California legislature explicitly addressed advertising and the potential for


                                                     -23-
 1 discrimination in advertising, e.g., the California Fair Employment and Housing Act, Cal. Gov’t

 2 Code §§ 12940(d) (employment “publication[s]”), and 12955(c) (housing “advertisements”), the

 3 Unruh Act and section 51.5 have no such comparable provisions. Instead, both the Unruh Act and

 4 section 51.5 prohibit only “unreasonable, arbitrary, or invidious discrimination” that is intentional

 5 and “morally offensive.” See Koebke, 36 Cal.4th at 853 (quoting Harris, 52 Cal. 3d 1172). It

 6 cannot be the case that the Unruh Act and section 51.5 would allow businesses to have policies

 7 and practices “based on “actual characteristic differences or differences in needs of users,” but

 8 prohibit advertising based on those same differences. See Sunrise Country Club Assn., 190 Cal.

 9 App. 3d at 380-81.

10          In sum, Plaintiff fails to plead facts demonstrating that Facebook has engaged in any

11 conduct that violates the Unruh Act or section 51.5 by developing and offering the age and gender

12 audience selection tools on its Ad Platform.

13 IV.      CONCLUSION
14          For these reasons, the Court should dismiss Plaintiff’s Complaint with prejudice.

15

16 DATED: February 19, 2020                     MUNGER, TOLLES & OLSON LLP

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18
                                                By:         /s/ Rosemarie T. Ring
19                                                   ROSEMARIE T. RING
                                                Attorneys for Defendant Facebook, Inc.
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